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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Anthony Kuri
                             Plaintiff,
v.                                                  Case No.: 1:13−cv−01653
                                                    Honorable Edmond E. Chang
Det. Folino, et al.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 9, 2019:


         MINUTE entry before the Honorable Edmond E. Chang: By 04/17/2019, Plaintiff
shall file a sur−reply to Defendants' Rule 60 motion [336], specifically addressing the
argument that the record does not support the statement that Plaintiff's investigator
"continued on periodically throughout the remainder of the summer" to look for witness
Tony Fernandez, see R. 351, Defs.' Reply; whether limited discovery is warranted on the
motion; and whether if there was an error under Federal Rule of Civil Procedure
32(a)(4)(D), is that type of error subject to harmless−error review, and if so, whether error
(if any) was harmless here. The status hearing of 04/24/2019 is reset to 06/18/2019 at 9:00
a.m. The Court observes that if the parties have not engaged in additional settlement
negotiations, then this would be the perfect time to re−engage in negotiations. Emailed
notice(slb, )




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